      Case 2:17-cv-10721-JTM-JVM Document 111 Filed 11/13/18 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                        Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                           Section H
                                                     Judge Jane Triche Milazzo
        Plaintiffs,
                                                     Division 1
 v.                                                  Magistrate Judge Janis van Meerveld

 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

        Defendants.


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       The Defendants respectfully submit as supplemental authority in support of their Joint

Motion to Dismiss (Doc. No. 63) the attached opinion of Moon v. City of El Paso, 906 F.3d 352

(5th Cir. 2018), issued by the U.S. Court of Appeals for the Fifth Circuit on October 15, 2018.

This authority is relevant to the defense of absolute prosecutorial immunity asserted in the

Defendant’s Motion.

       The Defendants contend that all of the claims against the Individual Defendants “are barred

by absolute prosecutorial immunity because they concern activities that are intimately associated

with the judicial phase of the criminal process.” Doc. No. 63-1 at 10. The Plaintiffs have argued,

however, that “absolute immunity does not shield conduct that is investigative or administrative


                                                1
      Case 2:17-cv-10721-JTM-JVM Document 111 Filed 11/13/18 Page 2 of 4



in nature, which is the conduct at issue in this case.” Doc. No. 67 at 8. Accordingly, the Plaintiffs

argue that much of the alleged misconduct in this case—such as sending allegedly “fraudulent”

subpoenas to witnesses, threatening witnesses who would not comply, and obtaining material-

witness warrants—falls outside the scope of absolute prosecutorial immunity because it was done

for “investigative” purposes. See Doc. No. 67 at 16–22. They further argue that other alleged

misconduct—such as “facilitating” the prolonged detention of a witness—does not give rise to

absolute immunity because it was “administrative.” See id. at 22–23.

       The Fifth Circuit’s recent decision in Moon provides further support for the Defendants’

argument that absolute immunity applies to all of the conduct alleged in this case, even if it might

be described as “investigative” or “administrative” in some sense. Specifically, the Fifth Circuit

held that “the broad scope of absolute prosecutorial immunity may even reach an apparently

administrative or investigative function if that function ‘require[s] legal knowledge and the

exercise of related discretion.’” Moon, 906 F.3d at 359 (quoting Van de Kamp v. Goldstein, 555

U.S. 335, 344 (2009)).

       The plaintiff in that case sued a Texas prosecutor who allegedly made a false statement

about evidence in briefing responding to the plaintiff’s habeas corpus petition and failed to inform

the plaintiff about the results of DNA testing after his habeas petition had been denied. Moon, 906

F.3d at 359–60. The Fifth Circuit explained that when the prosecutor opposed the habeas petition,

“he did so as a legal advocate for the State of Texas,” a role that “continued . . . during post-

conviction proceedings.” Id. at 360. The Fifth Circuit further explained that, even after the

conclusion of the habeas proceedings, when the DNA results returned, the prosecutor “determined,

based on his legal knowledge and experience, that the results were ‘non-exculpatory’” and

“exercised his discretion by deciding not to pursue the matter any further.” Id. The Fifth Circuit




                                                 2
      Case 2:17-cv-10721-JTM-JVM Document 111 Filed 11/13/18 Page 3 of 4



noted that the prosecutor’s “decision-making process—whether to turn over non-exonerative post-

conviction evidence—was precisely the type of prosecutorial function the Supreme Court

envisioned in Van de Kamp.” Id. Accordingly, the Fifth Circuit held that all claims against the

prosecutor were barred by absolute immunity. Id.

       The claims against the Individual Defendants here all involve alleged actions that were

taken for the purpose of interviewing witnesses in pending criminal prosecutions and securing the

testimony of such witnesses at trial. All of these alleged actions were taken in the role of legal

advocate for the State and required the exercise of legal knowledge and discretion. Any suggestion

that the alleged actions were taken for some purpose other than prosecuting pending cases in

criminal court is unfounded and rebutted by the Plaintiffs’ own pleadings. See Doc. No. 88 at 7 &

n.6 (discussing further). Accordingly, Moon confirms that “the broad scope of absolute immunity,”

906 F.3d at 359, operates here to bar the claims against the Individual Defendants.

       Respectfully submitted,


  /s/ Robert L. Freeman, Jr.                          /s/ Matthew J. Paul
 Robert L. Freeman, Jr., 21596                       Richard C. Stanley, 8487
 OFFICE OF THE DISTRICT ATTORNEY,                    W. Raley Alford, III, 27354
 PARISH OF ORLEANS                                   Matthew J. Paul, 37004
 619 South White Street                              STANLEY, REUTER, ROSS, THORNTON
 New Orleans, Louisiana 70119                         & ALFORD, LLC
 Telephone: (504) 822-2414, ext. 2877                909 Poydras Street, Suite 2500
 Facsimile: (504) 827-6393                           New Orleans, Louisiana 70112
                                                     Telephone: (504) 523-1580
 Thomas J. Barbera, 18719                            Facsimile: (504) 524-0069
 LAW OFFICE OF THOMAS J. BARBERA
 1010 Common Street, Suite 3000                      Counsel for Leon Cannizzaro (in his
 New Orleans, Louisiana 70119                        individual capacity); Graymond Martin;
 Telephone: (504) 931-0662                           David Pipes; Iain Dover; Jason Napoli;
 Facsimile: (504) 581-7083                           Arthur Mitchell; Tiffany Tucker; Michael
                                                     Trummel; Matthew Hamilton; Inga
 Counsel for Leon Cannizzaro (in his                 Petrovich; Laura Rodrigue; and Sarah
 official capacity as Orleans Parish                 Dawkins
 District Attorney)



                                                3
      Case 2:17-cv-10721-JTM-JVM Document 111 Filed 11/13/18 Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of November, 2018, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system, and that service will be provided

through the CM/ECF system, as well as by U.S. Mail for any non-CM/ECF participant.


                                                     /s/ Matthew J. Paul




                                                4
